                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


    TIMOTHY JACKSON,
         Plaintiff,

    v.                                                       C.A. No. 4:21-cv-00033

    LAURA WRIGHT, ET AL.,
         Defendants.


            DEFENDANTS’ OPPOSED MOTION TO STAY PROCEEDINGS PENDING APPEAL

         Defendants, Laura Wright, Milton B. Lee, Melisa Denis, Mary Denny, Daniel Feehan,

A.K. Mago, Carlos Munguia, and G. Brint Ryan, each in their official capacities as members of the

Board of Regents for the University of North Texas (“UNT”) System (“Board Defendants”);

Rachel Gain; Ellen Bakulina; Andrew Chung; Diego Cubero; Steven Friedson; Rebecca Dowd

Geoffroy-Schwinden; Benjamin Graf; Frank Heidlberger; Bernardo Illari; Justin Lavacek; Peter

Mondelli; Margaret Notley; April L. Prince; Cathy Ragland; Gillian Robertson; Hendrik Schulze;

Vivek Virani; and Brian F. Wright (“Defamation Defendants”) (collectively “Defendants”), file

this Motion to Stay Proceedings Pending Appeal to the United States Court of Appeals for the

Fifth Circuit.

         On January 18, 2022, the Court entered its Order denying Defendants’ Motion to Dismiss. 1

Defendants moved to dismiss all claims based on, among other things, sovereign immunity and

Plaintiff’s lack of standing. 2 On February 1, 2022, Defendants filed their Notice of Appeal. 3




1
  Dkt. 47.
2
  Dkt. 8, 21.
3 Dkt. 48.




                                                                                          1|Page
         “The filing of a notice of appeal is an event of jurisdictional significance—it confers

jurisdiction on the court of appeals and divests the district court of its control over those aspects

of the case involved in the appeal.” Griggs v. Provident Consumer Disc. Co., 459 U.S. 56, 58 (1982)

“[A] federal district court and a federal court of appeals should not attempt to assert jurisdiction

over a case simultaneously.” Id. “When one aspect of a case is before the appellate court on

interlocutory review, the district court is divested of jurisdiction over that aspect of the case.”

Dayton Indep. Sch. Dist. v. U.S. Mineral Prods. Co., 906 F.2d 1059, 1063 (5th Cir. 1990). District

courts lack “power to ‘alter the status of [a] case as it rests before the Court of Appeals.’” Id.

(quoting Coastal Corp. v. Tex. E. Corp., 869 F.2d 817, 820 (5th Cir. 1989)).

         Defendants’ appeal divests this Court of jurisdiction because Defendants asserted

threshold jurisdiction challenges against all claims brought by Plaintiff in this lawsuit.4 And this

includes the state law claims based on the Court’s finding that “both the First Amendment and

the defamation claims arise from a common nucleus of operative fact.” Dkt. 47 at 27. This appeal

will necessarily subsume and address all aspects of this Court’s order.

         Subjecting any of the Defendants to further litigation would be unreasonable for several

reasons. First, continuing litigation in the district court would impermissibly erode the protections

afforded by the sovereign-immunity defense. And it would defy the Fifth Circuit’s directive to

resolve the sovereign-immunity question first before further litigation proceeds. See Caremark, 584

F.3d at 658. Second, proceeding on any aspect of the litigation would be an inefficient, and

potentially entirely unnecessary, use of Court and State resources. Even if the Fifth Circuit chooses


4
 See Whole Woman's Health, 2021 WL 4128951, at *6 (“[T]he notice appealing the order ‘divest[s] the district court
of its control over those aspects of the case involved in the appeal.’”) (quoting Griggs v. Provident Consumer Disc. Co.,
459 U.S. 56, 58 (1982)); see also Wooten v. Roach, 964 F.3d 395, 412 (5th Cir. 2020); Williams v. Brooks, 996 F.2d 728,
729–30 (5th Cir. 1993).


                                                                                                           2|Page
only to reverse this Court’s findings as to the federal claims, this will certainly impact this Court’s

ability to exercise supplemental jurisdiction over Plaintiff’s state law claims. Thus, movement

forward on any of Plaintiff’s claims in this case will cause an unnecessary, substantial expenditure

of resources, at worst, or an inefficient division of this case where Plaintiff’s claims are at two

different stages in the litigation, at best. A stay is both required based on Fifth Circuit jurisprudence

and inherently logical.

        Accordingly, this Court should enter an order recognizing that all proceedings have been

stayed as a result of Defendants’ appeal and shall remain stayed until the appeal is resolved by the

Fifth Circuit.

                                                PRAYER

        Defendants pray that this Court stay all proceedings and pending deadlines in this case

while their appeal is considered by the Fifth Circuit Court of Appeals.

Dated: February 1, 2022

                                                Respectfully Submitted.

                                                KEN PAXTON
                                                Attorney General of Texas

                                                BRENT WEBSTER
                                                First Assistant Attorney General

                                                GRANT DORFMAN
                                                Deputy First Assistant Attorney General

                                                SHAWN COWLES
                                                Deputy Attorney General for Civil Litigation

                                                THOMAS A. ALBRIGHT
                                                Division Chief
                                                General Litigation Division



                                                                                             3|Page
                                              /s/ Courtney Corbello
                                              COURTNEY CORBELLO
                                              Attorney-in-Charge
                                              Assistant Attorney General
                                              Texas State Bar No. 24097533
                                              courtney.corbello@oag.texas.gov

                                              General Litigation Division
                                              Office of the Attorney General
                                              P.O. Box 12548
                                              Austin, Texas 78711-2548
                                              (512) 463-2120 / Fax (512) 936-2109
                                              ATTORNEYS FOR DEFENDANTS

                               CERTIFICATE OF SERVICE
    I certify that on February 1, 2022 the foregoing was filed electronically via the Court’s
CM/ECF system, causing electronic service upon all counsel of record.

                                                   /s/ Courtney Corbello
                                                   COURTNEY CORBELLO
                                                   Assistant Attorney General

                                  NOTICE OF ELECTRONIC FILING
       I, COURTNEY CORBELLO, Assistant Attorney General of Texas, certify that I have
electronically submitted for filing, a true and correct copy of the above and foregoing in accordance
with the Electronic Case Files system of the United States District Court for the Eastern District
of Texas, on February 1, 2022.
                                                    /s/ Courtney Corbello
                                                    COURTNEY CORBELLO
                                                    Assistant Attorney General

                                  CERTIFICATE OF CONFERENCE
       I hereby certify that I have conferred with counsel of record regaring the relief requested in
this motion. Counsel has informed me that Plaintiff is opposed.

                                                  /s/ Courtney Corbello
                                                  COURTNEY CORBELLO
                                                  Assistant Attorney General




                                                                                         4|Page
